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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                   :

               v.                          :

PETER GERACE and
MICHAEL GEIGER,                                     00-CR-9-S

                         Defendants.       :




                         GOVERNMENT’S WITNESS LIST



     THE UNITED STATES OF AMERICA, by and through its attorneys,

Kathleen M. Mehltretter, Acting United States Attorney for the

Western District of New York, and Anthony M. Bruce, Assistant

United States Attorney, hereby submits its list of the witnesses it

intends to call at the trial of the captioned case, together with

a summary statement of each witness’ (or class of witness) expected

testimony.



     1.       FBI Special Agent Elizabeth Rios

     Will identify various Advanced Distributing records seized

during    a    January   30,   1995   search   of   Advanced    Distributing’s

Premises (“Advanced”).
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     2.    Anthony (Tony) Gugino and Brandon DelPrince

     Who were both former (among other things) salesmen, reloaders,

and customer service representatives for Advanced, will (1) further

identify Advanced’s records seized in the January 30, 1995 search;

(2) testify about Advanced’s fraudulent sales methods, (3) testify

about the defendants’ knowledge of and participation in Advanced’s

fraudulent sales activities, and, in Gugino’s case, about his

removing    records   from   Advanced’s   business   premises    at     the

defendants’ direction so that those records would not fall into the

FBI’s hands.



     3.     Gallagher Printing

     Through a representative, will testify and produce records

demonstrating that the only certificates they ever printed for

Advanced awarded the recipient the “gimme gift.”



     4.     Robert Closson, Austin Davis, Saundra Durham, Carol
            Morgan, Jamsetta Perry, Jocelin Hewitt, and
            Elizabth Gifford



     Were all victims of Advanced’s fraudulent sales tactics.           All

of these witnesses will testify about the pitches used during calls

they received from Advanced’s salespeople, what they bought, what

happened when they complained, and so forth.      (Elizabeth Gifford’s
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advanced arthritis will prevent her from traveling to Buffalo to

testify and we have moved to take her deposition.)



     DATED:    Buffalo, New York, September 29, 2005.


                                 Respectfully submitted,

                                 KATHLEEN M. MEHLTRETTER
                                 Acting United States Attorney




                           BY:   s/ANTHONY M. BRUCE
                                 Assistant U.S. Attorney
                                 Western District of New York
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                                 Buffalo, New York   14202
                                 (716) 843-5700, ext. 886
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

             v.                                       00-CR-09-S

PETER GERACE and
MICHAEL GEIGER,

                       Defendants.



                         CERTIFICATE OF SERVICE


        I hereby certify that on September 29, 2005, I electronically

filed the attached Government’s Witness List with the Clerk of the

District     Court   using   its   CM/ECF   system,    which   would   then

electronically notify the following CM/ECF participant on this

case:


             Paul J. Cambria, Jr., Esq.


             I hereby certify that on September 29, 2005, I mailed the

attached Government’s Witness List, by the United States Postal

Service, to the following non-CM/ECF participant:

             Joseph M. LaTona, Esq.
             716 Brisbane Building
             403 Main Street
             Buffalo, New York 14203




                                      s/LINDA F. SWIATEK
